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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
                    v.                          : CASE NO. 1:21-cr-00575-JDB-2
                                                :
LESPERANCE et. al.,                             :
                                                :
                           Defendants.          :

     DEFENDANTS’ MOTION TO DISMISS ON FIRST AMENDMENT
                         GROUNDS


       COMES NOW, Defendants, David John Lesperance (“Lesperance”), Casey

Cusick (“Cusick”), and James Varnell Cusick Jr. (“Cusick Jr.”), by and through

undersigned counsel John Pierce, and hereby move this Motion to dismiss all counts

of the indictment against them, on 1st Amendment grounds.


                                  INTRODUCTION

      Given that the fundamental concept of government, Republican in form,

entails a right on the part of its citizens to petition for a redress of grievances, the

Defendants have a constitutional right to challenge the fairness of the presidential

election. See States Term Limits v. Thorton, 514 U.S. 779, 843 (1995); See also

Hague v. Committee for Industrial Organization which stated that: “Citizenship of

the United States would be little better than a name if it did not carry with the right

to discuss national legislation and the benefits, advantages, and opportunities to


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accrue citizens therefrom.” (Hague v. Committee for Industrial Organization 307

U.S. 496, 513 (1939) (opinion of Roberts, J., joined by Black, J.). As Chief Justice

Marshall wrote in 1819: “[t]he government proceeds directly from the people; it is

‘ordained and established,’ in the name of the people.” See McCulloch v.Maryland,

17 U.S. 316, 403-05, 4 L. Ed. 579 (1819) (Holding in both form and substance, it is

“truly a government of the people”).The People of the United States of America,

have a right to take part in the implied protections of the Constitution, and along

with that the freedom to "come to the seat of government to assert any claim he

may have upon that government..." See Crandall v. Nevada, 6 Wallace, 36, 44

(1868).

      The Capitol, on the other hand, is perhaps the place in America where the

Government has the least authority to restrict citizen presence, petitioning,

demonstrating, and activism. Bearing in mind, that the First Amendment of the

Constitution specifically states that, “Congress shall make no law restricting free

speech, peaceably assembling or interfering with the right to petition government

for redress of grievances.” See USCS Const., Amend. 1. Congress is therefore

susceptible to public oversight and correction, as stated in the plain text of the

Constitution. However, the Defendants in this case are being charged of doing

precisely that, exercising their First Amendment freedoms of expression and

assembly, based on the aforementioned rights guaranteed by the Constitution.



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   The Defendants in this case are unjustly facing the following four misdemeanor

counts as enumerated in the Criminal Docket and subsequent criminal complaint

(ECF #1):

   1. 18 USC § 1752(a)(1); Entering and Remaining in a Restricted Building;
   2. 18 USC § 1752(a)(2); Disorderly and Disruptive Conduct in a Restricted
      Building;
   3. 40 U.S.C. § 5104(e)(2)(D); Violent Entry and Disorderly Conduct in a
      Capitol Building
   4. 40 U.S.C. § 5104(e)(2)(G); Parading, Demonstrating, or Picketing in a
      Capitol Building

                                    ARGUMENT

   1. Count 1: Knowingly Enter and Remaining in the Capitol

   In Count One, the Defendants are accused of “knowingly enter[ing] and

remain[ing] in the United States Capitol, a restricted building, without lawful

authority to do so, in violation of 18 U.S.C. § 1752(a)(1)).” But there is no law of

Congress which makes the Capitol a restricted building. Nor could Congress even

lawfully deny access to the Capitol in such a way, as they have no constitutional

authority to “make [any] law . . . abridging the freedom of speech, . . . or the right

of the people peaceably to assemble, and to petition the Government for a redress

of grievances.” See USCS Const., Amend. 1. Section 1752(a) does not proclaim

that the Capitol is a “restricted” building. The text of the statute defines a restricted

building as:

               [A] ‘restricted building’ includes a posted, cordoned off, or
               otherwise restricted area of a building or grounds where the

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             President or other person protected by the Secret Service,
             including the Vice President, is or will be temporarily visiting;
             or any building or grounds so restricted in conjunction with an
             event designated as a special event of national significance.
             (ECF #1-1 at 7) (DOC #1-1 at 5)


However generally speaking, the Capitol is open to the public during normal

business hours. Prior to January 6, the official website explicitly informed visitors

that “The Capitol Visitor Center, the main entrance to the U.S. Capitol, is located

beneath the East Front Plaza... the Capitol Visitor Center is open to visitors from

8:30 a.m. to 4:30 p.m. Monday through Saturday . . .” When the Defendants

allegedly entered the Capitol, it was on a Wednesday on January 6, 2021, and the

time stamps on the photos provided in the Statements of facts show times between

3:09 p.m. to 3:19 p.m. Thus, it is simply not possible for the government to

lawfully convict the Defendants of “entering and remaining in the United States

Capitol, a restricted building, without lawful authority to do so,” when the

Capitol’s official signage and websites proclaim the building is open to the public,

and besides that, the Defendants have a constitutional right, under the First

Amendment to redress the Government for grievances.

      The Defendant’s right to enter the Capitol is not subject to the permission,

will, or discretion of the government. Cf., inter alia, Turner Broad. Sys., Inc. v.

FCC, 512 U.S. 622 (1994); Ward v. Rock Against Racism, 491 U.S. 781 (1989);

Weinberg v. City of Chicago, 310 F.3d 1029 (7th Cir. 2002); Bay Area Peace Navy

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v. United States, 914 F.2d 1224 (9th Cir. 1990); A Quaker Action Group v. Hickel,

137 U.S. App. D.C. 176, 421 F.2d 1111 (D.C. Dir. 1969). Additionally,

timestamped images that attempt to link the Defendants to the alleged crime do not

show them spending more than ten minutes in the Capitol. Thus, given these

principles, Count One does not state an offense under federal law upon which any

relief can be granted; and must be dismissed pursuant to Rule 12(b) of the Federal

Rules of Criminal Procedure.

   2. Counts 2 and 3: Knowing and Willful Disruptive and Disorderly
      Conduct in a Capitol or Restricted Building.

   Counts two and three are unconstitutional as well, because the people have a

right to impede the orderly conduct of the Government by First Amendment

protected expressive conduct and advocacy. Count 2 alleges that the Defendants:

             [K]nowingly, and with intent to impede or disrupt the orderly
             conduct of Government business or official functions, engages
             in disorderly or disruptive conduct in, or within such proximity
             to, any restricted building or grounds when, or so that, such
             conduct, in fact, impedes or disrupts the orderly conduct of
             Government business or official functions; See 18 U.S.C. §
             1752(a)(2)).

Count 3 is essentially a repeat of Count 2, it alleges that:

             An individual or group of individuals may not willfully and
             knowingly: utter loud, threatening, or abusive language, or
             engage in disorderly or disruptive conduct, at any place in the
             Grounds or in any of the Capitol Buildings with the intent to
             impede, disrupt, or disturb the orderly conduct of a session of
             Congress or either House of Congress, or the orderly conduct in
             that building of a hearing before, or any deliberations of, a

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             committee of Congress or either House of Congress; See 40
             U.S.C. § 5104(e)(2)(D)

   Both these counts must be dismissed because they conflict with the Defendants’

rights and duties under the First Amendment to speak freely, assemble with others,

and petition for redress of grievances at the U.S. Capitol. A person's speech or

expressive activity is not removed from the ambit of First Amendment protection

simply because they were present in a public building, where others allegedly acted

unlawfully. The right to engage in activities protected by the First Amendment

implicitly includes the right to associate with others in pursuit of a wide range of

“political, social, economic, educational, religious, and cultural” goals. See NAACP

v. Alabama ex rel. Patterson, 357 U.S. 449, 460, 2 L. Ed. 2d 1488, 78 S. Ct. 1163

(1958) (holding that freedom of speech encompasses "freedom to engage in

association for the advancement of beliefs and ideas") (cited in White v. Lee, 227

F.3d 1214, 1228 (9th Cir. 2000). In Christian Gospel Church, the court stated that

whatever their opinions were of the “Plaintiffs goals,” they were engaging actively

in the “decisions of the government,” which is something that citizens should be

“encouraged to do.” See Christian Gospel Church Inc. v. San Francisco, 896 F.2d

1221 (1990) at 1226. Therefore, it is crucial to stress that just because someone

advocates for a wrongful act, their speech or petitioning endeavors does not

automatically lose First Amendment protection. See White v. Lee, 227 F.3d 1214,




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1227 (9th Cir. 2000); See also Brandenburg v. Ohio, 395 U.S. 444, 447 (1969);

Noto v. United States, 367 U.S. 290, 291 (1961).

   It is evident that the term "advocacy, as used in Brandenburg,” includes all of

the First Amendment's other protected freedoms of expression in addition to the

right of free speech. Id. at Brandenburg 449 n.4 (cited in White v. Lee, 227 F.3d at

1228); see also Communist Party of Indiana Whitcomb, 414 U.S. 441, 448-50

(1974) (applying Brandenburg principles to state regulation of access to the ballot).

The Supreme Court has also specified that the “right to petition is inseparable from

and inspired by,” the same principles as the freedoms of speech, publication, and

assembling. See McDonald v. Smith, 472 U.S. 479, 485 (1985). Furthermore, “[t]he

mere fact that citizens urge their government to adopt measures that may be

unlawful does not deprive the speech involved of its First Amendment protection.”

See Manistee Town Ctr. v. City of Glendale, 227 F.3d 1090, 2000 U.S. App. (9th

Cir. 2000) (affirming dismissal under Noerr-Pennington doctrine of complaint

challenging lobbying of county officials that allegedly resulted in the

unconstitutional taking of plaintiff's property) (cited in White v. Lee at 1228). In

Brandenburg, the phrase "imminent lawless action" describes the use of physical

violence or intent to physically disrupt, such as a “riot.” See Brandenburg, 395

U.S. 444 at 448. On the other hand, the First Amendment gives complete

protection to all “peaceful speech, even speech that calls for “civil disobedience.”



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See White v. Lee at 1228; see also Noto v. United States, 367 U.S. 290, 297-298

(1961) (“the mere abstract teaching of the moral propriety or even moral necessity

for a resort to force and violence, is not the same as preparing a group for violent

action”).

   Additionally, “in the First Amendment context,” courts need to consider the

substance of government action, such as the “threat of invoking legal sanctions and

other means of coercion, persuasion, and intimidation,” which will violate the

rights associated with the First Amendment. See Bantam Books, Inc. v. Sullivan,

372 U.S. 58, 67 (1963) (cited in White v. Lee at 1228). Along with measures taken

by government officials that "would chill or silence" a reasonable person from

future First Amendment activity, are also violations. See Mendocino

Environmental Ctr. v. Mendocino County, 192 F.3d 1283, 1300 (9th Cir. 1999).

      Here, there is an obvious infringement of the Defendants' First Amendment

rights as a result of the Government’s actions, most notably the baseless charges in

this current case, brought against the Defendants. Despite the fact that there are no

facts or evidence to support the accusations against the Defendants, the

Government is also attempting to stifle and silence free speech in the process. The

Defendants have not engaged in any form of “imminent lawless action,” fighting

words, or violent conduct that would result in unprotected speech. Yet, the

Government is attempting to connect photos of the Defendants as evidence of their



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presence in the Capitol and attributing allegedly violent conduct of other people to

convict them. It is ludicrous, for the Government to associate going into a public

building for less than ten minutes and walking around and observing, as someone

would do in a museum, to charges of violent entry, disorderly conduct, and loud,

threatening or abusive language. On top of that, the time on the photos indicate that

the Defendants entered the public building over an hour after the “unlawful

conduct” described by the Government as not being protected by the First

Amendment occurred.

      However, even if one were to entertain this idea, that the Defendants

“knowingly intended to impede the orderly conduct of Government business and

official functions” at the Capitol, the Defendants nevertheless still had a protected

constitutional right to walk inside the Capitol, express their opinions, and

communicate their grievances. Without some specific facts or evidence of violent

or lawless conduct or even threatening and abusive language by the Defendants,

the Government’s allegations in these two counts fail to state a claim and as a

result violate the Defendants’ First Amendment rights. Accordingly, counts 2 and

3, like count 1, simply do not state valid claims in the context of people

demonstrating and expressing their views and should also be dismissed.

   3. Count 4: Parading, Demonstrating, or Picketing in a Capitol Building




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   The final count in the Defendant’s indictment, Count 4, also violates the

Constitution. Count 4 alleges that “On or about January 6, 2021, the Defendants

did willfully and knowingly parade, demonstrate, or picket in any of the Capitol

Buildings.” See 40 U.S.C. § 5104(e)(2)(G)). Yet, the First Amendment itself was

designed to protect the right to every citizen to, “reach the minds of willing

listeners and to do so there must be opportunity to win their attention.” See Kovacs

v. Cooper, 336 U.S. 77, 87 (1949). Whereas “Freedom of speech and of assembly

for any lawful purpose are rights of personal liberty secured to all persons, by the

Due Process Clause of the Fourteenth Amendment.” See Hague, 307 U. S. at 519.

   The birthright of every American includes the right to parade, demonstrate, and

picket for a redress of grievances. See Hill v. Colo., 530 U.S. 703, 721-22 (2000)

(which defines “demonstrate” as “to make a public display of sentiment for or

against a person or cause” and “picket” as an effort “to persuade or otherwise

influence”) (quoting Webster's Third New International Dictionary). The no-

demonstration and no-picketing zone established by 40 U.S.C. § 5104(e)(2)(G)) in

a 1.5-million-square-foot building is the largest infringement on basic First

Amendment rights ever imposed anywhere in the United States. The indictment

against the Defendants is intended to chill the Defendants’ (and millions of others')

right to petition and speak out against abuses of power in the Capitol, if for no

other reason. By their actions, the Government seeks to “insulate congressional



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representatives, staff, officials and attendees from receiving the messages of the

Defendants and other protestors and petitioners.” See Gresham v. Peterson, 225

F.3d 899 (7th Cir. 2000) (where the court held that such efforts by the government

are undeniably unconstitutional). While there are few instances where courts have

provided for “free speech zones” (such as college campuses), there have also been

limited restrictions by the Government on picketing and demonstration, as well.

See Madsen v. Women's Health Ctr., 512 U.S. 753 (1994) at 771 (where the

Supreme Court determined that a 300-foot buffer between protesters and the

entrance to an abortion clinic was too great a restriction on speech, however, a

thirty-six-foot buffer was acceptable). However, there has never been a situation

where any court allowed the Government to silence and censor all petitioning and

protesting in such a vast radius, as they seek to do here.

      In Blair v. City of Evansville, a protestor who picketed a speech by Vice

President Dick Cheney in 2002, was arrested for “disorderly conduct” for merely

holding a sign that stated “Cheney 19th Century Energy Man” at an event. See

Blair, 361 F. Supp. 2d 846 (S.D. Ind. 2005) (the court held that the restriction of

protesters burdened speech substantially more than was necessary to further the

Government’s goals of safety). Even more than in Blair, the expansive speech and

picketing restrictions here (effectively the entire 1.5 million square foot Capitol

complex) are massively overexpansive and not narrowly tailored to serve a



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significant government interest. See United States v. Albertini, 472 U.S. 675, 689

(1985)). While there is an interest for the Vice President and Congress to be

properly protected from danger, the First Amendment requires that the Vice

president and Congress cannot “be entirely insulated from picketing and

advocacy.” See Blair, 361 F. Supp. 2d 846 (S.D. Ind. 2005) at 858. Furthermore,

other cases that have looked at restrictions on access to public buildings and have

found an over-broad violation. See Kuba v. 1-A Agr. Ass'n, 387 F.3d 850, 861-62

(9th Cir. 2004) (where 200 and 265 feet security zones found over broad); See also

Bay Area Peace Navy v. United States, 914 F.2d 1224, 1229 (9th Cir. 1990) (where

seventy-five yard security zone found over broad because it prevented

demonstration from reaching intended audience).

      Note that here, the government is asserting that the entire U.S. Capitol—one

of the largest public buildings in the United States—is a no free speech and no

picketing zone. Significantly, some federal courts have already held that the “West

Front Lawn is a traditional public forum where demonstrations must be allowed.”

See Lederman v. U.S., 291 F.3d at 44. In Lederman, the D.C. Circuit declared

facially unconstitutional a “regulation banning leafleting and other 'demonstration

activities’ on the sidewalk at the foot of the House and Senate steps on the East

Front of the United States Capitol.” 291 F.3d at 39 (concluded that the "ban's

absolute nature" rendered the regulation not narrowly tailored, as “[s]ome banned



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activities" "cannot possibly" interfere "with the stated objectives of traffic control

and safety) Id. at 45. Finally, there is an expectation reinforced by the

understanding that our Constitutional liberties include the "individual's decision to

remain in a public place of his choice." See City of Chicago v. Morales, 527 U.S.

41, 54, 119 S. Ct. 1849, 144 L. Ed. 2d 67 (1999) (plurality opinion); See also,

Williams v. Fears, 179 U.S. 270, 274, 21 S. Ct. 128, 45 L. Ed. 186 (1900). The

“freedom to move around as we see fit and be where we want to be with minimal

legal constraint is indeed part of our heritage.” See Kent v. Dulles, 357 U.S. 116,

126, 78 S. Ct. 1113, 2 L. Ed. 2d 1204 (1958) (cited in Conley v. United States, 79

A.3d 270, 286-87 (D.C. 2013).

      Here, the statute 40 U.S.C. § 5104(e)(2)(G), which forbids “willfully and

knowingly” parading, demonstrating, or picketing in any of the Capitol Buildings

is unconstitutional both on its face and as applied to the alleged conduct of the

Defendants. The Government is attempting to punish the Defendants for acts that

are protected by the Constitution and as a result the statute chills free speech

activities in the process without providing alternatives. In this very case, the

Defendants are accused of nothing more than walking into the Capitol during

normal business hours as part of a demonstration of expression regarding the

fairness of the presidential election. The Defendants were inside of this public

building for no more than ten minutes and did not engage in any acts that would be



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considered violent. The People have a Constitutional right to, “peaceably assemble

for the purpose of petitioning Congress for a redress of grievances, or for anything

else connected with the powers or the duties of the national government,” it is an

attribute of national citizenship, and “under the protection of, and guaranteed by,

the United States.” See Hague v. Comm. For Ind. Org., 307 U.S. 496, 513, 59 S.

Ct. 954, 963 (1939). As a result, the Defendants have a First Amendment right to

express their opinions in such a manner, let alone walk around in a public building

without being criminalized for it. In conclusion, for all the above-described

reasons, the indictment in this case must be dismissed.

      Accordingly, Defendants (Lesperance, Cusick Jr., and Cusick) request an

order dismissing all four counts against them with prejudice.



Dated: February 3, 2023

                                 Respectfully submitted,

                                                                  /s/ John M. Pierce
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                          CERTIFICATE OF SERVICE
I hereby certify that, on February, 03, 2023, this reply was filed via the Court’s
 electronic filing system, which constitutes service upon all counsel of record.
                               /s/ John M. Pierce
                                 John M. Pierce




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